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           EXHIBIT 8
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                                       MATERIAL PURCHASE AGREEMENT
                                                     COVER SHEET




Johnson & Johnson Consumer Companies, Inc., a New Jersey Corporation ("BUYER"), and Luzenac
America, Inc., a Delaware corporation ("SELLER"), intending to be legally bound, hereby covenant and
agree to purchase and sell, respectively, the Material, on the following terms and conditions:

MATERIAL: The Material covered by this Agreement shall be the material (the "Material") set forth in
Attachment A, attached hereto and incorporated herein by this reference.

OUANTITY: During the Term of this Agreement, BUYER shall purchase from SELLER one hundred
percent (100%) of BUYER's and BUYER's Affiliates' collective talc requirements by purchasing the
Material with respect to each ofthe locations listed in Attachment C (the "Facilities"). The percentage of
BUYER's and BUYER's Affiliates' total requirements ofthe Material purchased from SELLER during the
Term may be confIrmed by SELLER as set forth in Attachment A. An "Affiliate" of BUYER shall mean
any direct or indirect subsidiary of BUYER and any other person or entity controlled by, controlling or
under common control of BUYER.

SELLER is not obligated to supply Material to BUYER (i) in any qualter in excess of 1/4 x the maximum
annual quantity shown for such Material in Attachment A or (ii) in any month in excess of 1112 x the
maxhnum annual quantity shown for such Material in Attachment A.

CONTRACT TERM: January 1, 2010 through December 31, 2011, subject to earlier termination as
provided herein (the "Term").

PRICE AND TERMS OF PAYMENT: The prices for the Material covered by this Agreement shall be as
set forth in Attaclnnent B, attached hereto and incorporated herein by this reference.

DELIVERY TERMS: The delivery tenns for the Material shall be as set forth in Attachment C, attached
hereto and incorporated herein by this reference.

BUYER'S LOCATION AND DELIVERY POINT: The Material covered by this Agreement shall be
delivered to the Facilities specifIed in Attachment C pursuant to the Shipment Schedule described therein.

GENERAL TERMS AND CONDITIONS OF SALE: AGREEMENT: The General Terms and Conditions
of Sale, attached hereto as Attachment D, are incorporated herein and made a part hereof by this reference.
This Cover Sheet, the General Terms and Conditions of Sale, as modifIed or expanded by the terms of this
Cover Sheet (including all Attachments hereto), are collectively referred to herein as the" Agreement". The
Agreement shall constitute the agreed terms and conditions upon which BUYER is obligated to purchase
and SELLER is obligated to sell the Material. In the event BUYER uses its own order acknowledgment
form or any other form to accept this Agreement, such fOlm shall be used for convenience only and any
terms and conditions contained therein which are inconsistent with or in addition to those contained in this
Agreement shall be and are rejected and shall be and are of no force and effect whatsoever between the
parties unless expressly assented to in writing by the SELLER.

OTHER CONSIDERATIONS: BUYER will use commercially reasonable efforts to qualiJY SELLER's
Australian ore as an alternate Material to be supplied under this Agreement by August 31, 2010.
IN THE EVENT BUYER SUCCESSFULLY QUALIFIES AUSTRALIAN ORE:
No later than August 31, 2010, BUYER and SELLER will discuss current costs and competitive pricing for
such ore supply. Provided BUYER and SELLER can come to terms on acceptable pricing,
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SELLER will provide solely the Australian ore to BUYER through December 31, 2011 beginniug on a date
to be agreed to between the parties, which date shall represent a reasonable date to allow the parties to
begin supplying and taking supply ofthe Australian ore. If Buyer and SELLER cannot come to terms on
pricing for Australian ore supply by August 31, 2010, either party may terminate this Agreement on 30 days
written notice.
IN THE EVENT BUYER DOES NOT SUCCESSFULLY QUALIFY AUSTRALIAN ORE:
If BUYER is unable to qualifY SELLER's Australian ore by August 31, 2010 due to the ore not meetiug
BUYER's specifications as provided on Attachment A, BUYER or SELLER may termiuate this Agreement
at any time upon written 30 days written notice. SELLER may in its sole discretion continue to supply
Chinese ore at the applicable prices stated on Attachment B through December 31, 2010, at which time this
Agreement will automatically termiuate~

      IN WITNESS WHEREOF, the pmties to this Agreement have executed the same as ofthe
commencement date ofthe Term first above written.

SELLER                                                       BUYER
Luzenac America, Inc.                                        Johnson & Johnson Consumer Companies,
                                                             Inc.




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                                              Attachment A

                                     MATERIAL SPECIFICATIONS



                                               Maximum
                                               Purchase Quantity
Material               Grade                   Metric Tons Per
                                               Year
Grade 25 Talc'         As per J&J                      8,500
                       specification no.
                       RM-008967



• Manufactured from Guangxi Chinese Ore. Alternatively, the Material may be SELLER's Australian are if
the conditions in the "Other Considerations" Section of the Cover Sheet are met.

SELLER will consider filling orders in excess of the maximum purchase quantity on a case by case basis.


                                   CONFIRMATION PROCEDURES


BUYER shall keep full and complete records and books of account with respect to all purchases of Material
covered by the Agreement for a period offour (4) years after the close of the calendar year to which such
records and books of account pertain. The SELLER may, at any time or times during or after the Tenn of
the Agreement, request an independent audit of such records and books of account for the sale purpose of
verifYing that the total amount of each Material required to be purchased by BUYER from SELLER
pursuantto the tenns ofthe Agreement has been met. Any nationally recognized firm of independent
certified public accountants designated by the SELLER and accepted by the BUYER shall, at any
reasonable time or times and at the SELLER's expense, have the right to examine and audit such records
and books of account maintained by the BUYER.




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                                                           Attachment B

                                                        PURCHASE PRICE


Chinese Ore       January 1 - March April 1- June 30,   Julyl - August 31, September 1, 2010-                November 1, 2010-
                  31,2010            2010               2010               October 31, 2010                  December 31, 2010
Bulk Price (S/mt)       $522/mt            $570/mt             $617/mt            S712/mt                          $750/mt
25 l<g bag price    Bulk plus $75/mt   Bulk plus $75/mt   Bulk plus $75/mt    Bulk plus S75/mt                 Bulk plus $75/mt
Superbag price      Bulk plus $45/mt   Bulk plus $45/mt   Bulk plus $45/mt    Bulk plus $45/mt                 Bulk plus $45/mt


              Prices based on FCA Houston plant plus freight. Freight will be arranged by SELLER and added to the
              invoice at prevailing rate. BUYER has the right to book freight carriers on request.
              Prices based on Chinese Guangxi Ore.

              OTHER PRICING CONSIDERATIONS:
              SELLER may also adjust pricing based on the increases or decrease in Chinese ore costs based on proof of
              such increases or decrease to BUYER.

              THE PRICES SET FORTH IN THIS ATTACHMENT B ARE BASED ON DELIVERY OF THE
              MATERIAL FCA (INCOTERMS 2000) SELLER'S HOUSTON, TX. FACILITY IN 25 KG BAGS,
              SUPERSAC BAGS OR BY TRUCK. ORDERS OF MATERIAL UNDER THE AGREEMENT
              SHALL BE FOR MINIMUM QUANTITIES OF NOT LESS THAN 20TONS.




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                                             Attachment C

                                          DELIVERY TERMS



                Terms of Sale:                                          FCA (Incoterms 2000)
                                                                        SELLER's Houston, TX facility


                Delivery Points:                                        As determined by BUYER



                                        SHIPMENT SCHEDULE


No later than ten (10) days before the beginning of each month during the Term, BUYER shall furnish to
SELLER a schedule (the "Schedule") indicating the dates and quantities to be delivered to each of
BUYER's Facilities for the next three (3) succeeding months. The first month of each Schedule shall
represent a firm purchase order, subject to change or withdrawal only as provided herein. The remaining
portion ofthe Schedule (second and third months) shall represent forecasts of BUYER's anticipated
quantities and dates of delivery, which shall be used by SELLER for planning purposes only and does not
represent a commitment by BUYER to purchase the Material on the dates or in the quantities indicated.

BUYER may reschedule or cancel the delivery dates of Material on order without charge upon the
SELLER receiving seventy-two (72) hours notice prior to the scheduled delivery date set forth in
BUYER's Schedule. Any originally scheduled delivery date may be rescheduled only once, for a delay of
no more than thirty (30) days beyond the originally scheduled delivery date.




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                                                                  Attachment D

                                       GENERAL TERMS AND CONDITIONS OF SALE

 1. Price' Taxes and Customs Duties' Conditions of Payment. The price for the Material is as set forth on the face hereof. All prices are
 quoted, orders accepted, and billings rendered FCA Seller's facility and are exclusive orall federal, state and local excise, sales, use and
 similar taxes, and all import, export Of customs duties, tariff's, or like charges, all of\vhich shall be the responsibility of Buyer. Payment for
 Material shipped on approved credit is due net 30 days, or as stated Oll the face hereof, from date of invoice. Past due balances are subject to a late
 payment charge of t.5% per month, or the maximum amount permitted by applicable law, whichever is less. Buyer shall pay all charges, costs and
 legal fees incurred in c()l1ecting amounts owed. Seller has the right to reschedule Of cancel any order with Buyer if accounts are delinquent. Ifin the
judgment of Seller the financial condition of Buyer at any time does notjustity delivery upon the payment tenns specified, Seller may require full
or partial payment in advance.
        2. Delivery and Risk of Loss. All Material shall be delivered to Buyer as provided on the face hereof. Title shall pass to Buyer, and Buyer
assumes all risk of loss, from the time the Material is loaded by Seller onto railcar or truck for shipment to Buyer at Sellers facility. In the absence
of specific \\Titten instructions, Seller may exercise in its discretion the method of shipment. Unless otherwise agreed by the parties in writing,
Seller shall have the exclusive right to arrange and book all freight for the transportation ofthe Material to Buyer. Delivery dates are the dates the
Material is shipped from Seller's facility. Buyer shall be responsible for payment of a11 freight and transportation charges from Seller's point of
loading to the delivery address specified on the face hereof. Delivery dates are approximate and are predicated on the prompt receipt by Seller of all
necessary infonnation and documentation from Buyer.
        3. Quantity. Actual weight ofindividual bags and other packaging may vary due to variations in the manufacturing process and
packing equipment tolerances. Any claim for shortage must be made in writing to Seller within 30 days after Buyer's receipt ofthe Material.
Seller is not obligated to deliver in any month more than a proportionate part of the maximum quantity specified, detennined by dividing
such maximum quantity by the total number of months included in the period of performance. When, in the opinion of Seller, there is a
period of shortage of supply of said Material for any reason, Seller may allocate its available supply among any or all of its various customers
upon such basis as it shall deem fair and practicable, with no liability on its part for failure to deliver the quantity or any portion therein
specified.
       4. Quality and Warranties. Seller warrants that (I) the Material meets both Seller's general, published specifications and any additional
specifications set forth on the face hereof; (2) Seller has good and sufficient title to the Material; and (3) the Material, as manufactured by Seller
according to Seller's specifications, does not infringe any U.S. patent Buyer has determined that Material with the quality characteristics
conforming to such specifications will satisfY its contemplated use ofthe Material. Upon Buyer's request, Seller shall prepare for Buyer for each
shipment of Material a certificate of analysis describing the quality characteristics of such shipment pursuant to the sampling procedures specified
in Section 5. Buyer agrees that packaging material, V,ilich includes but is not limited to bags, supersacks, containers, shrink \\TIlP, plastic ,vrap,
dunnage bags and pallets ("Packaging Material"), shall only be used for shipment of Material from Seller to Buyer and that such Packaging
Material shall be disposed of by Buyer in a manner that complies with all applicable laws. Material on pallets in transport or in storage must be
stored on a flat, load-bearing surface and bound to prevent shifting ofthe load. Pallets are not suitable for and are not to be used for edge racking or
stacking. Buyer acknowledges that Material and Packaging Material must be protected from damage, moisture, excessive heat and ignition
sources, and that personnel must be kept out ofthe path of any bags or pallets which may fall or shift during handling. Buyer assumes all risk of
handling the Material at the point of delivery and Buyer agrees to indemnifY Seller for claims by it or by third parties arising from such handling.
    SELLER HEREBY EXPRESSLY DISCLAIMS (AND THEREFORE IS HEREBY EXCLUDED FROM THIS AGREEMENl)
ANY OTHER WARRANTY, EXPRESS OR IMPLIED, AS TO THE MATERIAL AND PACKAGING MATERIAL, INCLUDING,
BUT NOT LIMITED TO, ANY IMPLIED WARRANTY OF MERCHANTABILITY OR FITNESS FOR A PARTICULAR
PURPOSE, SELLER SHALL NOT BE LIABLE FOR ANY DAMAGE, LOSS, COST OR EXPENSE, OR DREACH OF WARRANTY,
EXCEPT AS SKr FORTH IN THIS SEcrION 4. BUYER HEREBY WAIVES ALL CLAIMS FOR GENERAL, CONSEQUENTIAL,
INCIDENTAL, OR SPECIAL DAMAGES AND AGREES THAT SELLER'S LIADILITY AND BUYER'S EXCLUSIVE REMEDY
ARE EXPRESSLY LIMiTED TO REPLACEMENT OF A1\'Y MATERIAL AND PACKAGING MATERIAL WInCH DOES NOT
MEET THE WARRANTY SET FORTH IN THIS SECTION 4, AND SUCH LIABILiTY SHALL IN NO EVENT EXCEED THE
PURCHASE PRICE FOR SUCH MATERIAL AND PACKAGING MATERIAL; PROVIDED THAT, NOTHING IN TlUS
PARAGRAPH SHALL DE DEEMED TO EXCLUDE OR LIMITAlW LIABILITY UNDER ANY APPLICABLE LAW OR STATUTE
WHICH, UNDER SUCH LAW OR STATUTE, CAl'\'NOT BE EXCLUDED OR LIMITED.
       5. Sampling and Analysis. At the time the Material is loaded or packaged by Seller, whichever is earlier, Seller, at its expense, shall sample
the Material in accordance with its nonnal sampling procedures. The results of sampling and analysis by Seller shall be final and conclusive for all
purposes. Buyer's sole and exclusive remedy in the event delivered Material does not meet the quality standards set forth in Section 4 shaH be to
contact Seller and afford the SeHer the opportunity to inspect and sample the Material. If Seller agrees that the Material is nonconforming, Seller
shaH give instructions as to where to send the Material, at Seller's expense, and Buyer shall receive replacement Material in like quantities in lieu
thereof. Rejection of such nonconforming Material shall be made not later than thirty (30) days after receipt by Buyer.
       6. Defaults and Remedies. If SeHer defaults in any of its obligations hereunder, Buyer's sole remedy shall be refusal of delivery of
Material or termination ofthis Agreement on the tenns set forth below; if Buyer defaults in any of its obligations hereunder, Seller's remedies
shall include suspension of performance together with all other rights and remedies at law or in equity which Seller may have as a result of
Buyers default. If, despite any default by Buyer, Seller elects to continue to make deliveries, its action shall not constitute a waiver of any
default by Buyer or in any way affect Seller's legal remedies for any such default. If Buyer defaults under this Agreement and the matter is
placed in the hands of an attorney for collection, or suit is brought at law or in equity to enforce the provisions herein, Buyer agrees to pay
attorneys' fees together with costs in addition to the amounts due hereunder. Seller shall indemnifY, defend and hold harmless Buyer from
any and all liability, claims,judgments or damages relating to any claims that the Material, as manufactured by Seller according to Seller's
published specifications, violates any U.S. patent. Buyer agrees to indemnify, defend and hold harmless Seller from any and all liability,
claims, judgments or damages relating to claims of patent infringement due to Buyer's alteration, use, refonnulation or processing of the
Material.
       7. Force Majeure. All obligations of either party hereunder (except the payment of money) shall be suspended while, but only so long
as and to the extent that, such party is prevented from complying with such obligations in whole or in part by acts of God or ofthe public
enemy, strikes, lockouts and other labor disputes, fire, flood, accidents, epidemics, quarantine restrictions, freight embargoes, earthquake,
ullusuaHy severe weather, acts of war, terrorism, insurrection or mob violence, unforeseen shutdo\\TI or unavailability of major sources of supply,
breakage of machinery or apparatus, laws, requirements, regulations or action of or the failure to act of any state, federal or local government, or


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 any other matters beyond the reasonable control of said party which cannot be overcome by said party by means normally employed in the
 performance of this Agreement, whether similar to the matters herein specifically enumemted or otherwise. In the event of Seller's inability due to
 any of the above circumstances to supply all ofthe Material provided for hereunder, Seller reserves the right to allocate its available supply of
 Material among its purchasers, or any of them, as Seller, in its sale discretion, elects without liability to Buyer for any failure of performance which
 may result therefrom. The party affected by force majeure shall promptly and timely notity the other ofthe existence thereof, the expected delays,
 and the estimated effect upon its performance hereunder.
        8. Product Safety and Product Stewardship Program. Buyer understands and acknowledges that as part of Seller's product stewardship
 program, Seller from time to time will issue notices regarding the safe use of Seller's products, including appropriate and inappropriate end
 uses of Seller's products. Seller has the right to refuse to sell Material to unlawful or inappropriate end-uses as determined by Seller. Buyer
 agrees to comply with such safety policies and end use restrictions in its use and sale of Seller's products. Buyer further agrees upon written
 request from Seller to confirm in writing that Buyer is complying with SeHer's safety policies and end use restrictions. In no event shall
 Seller be responsible for any damage, injury or loss occasioned by the misuse of Material or Buyer's negligence.
       9. Buyer as End User' No Assignment Unless Buyer is duly authorized to distribute the Material pursuant to a written distribution
agreement with Seller, it is agreed and understood that the Material is being purchased by Buyer for its internal use and, without the express
written authorization of Seller, Buyer may not repackage, resell, or otherwise distribute the Material to third parties. In addition, Buyer shall
have no right to assign or transfer (whether by operation, by law or otherwise) all or any part of its rights or obligations under this Agreement
except with the prior written consent of the Seller and no delegation of any obligation of Buyer shall be made -without the prior written
consent of Seller; provided, ho,",'Cver, that Buyer shall be pennitted to assign this Agreement in its entirety in connection with a merger,
consolidation, sale ofall or substantially all of Buyer's assets or equity interests or similar business combination or reorganization involving
Buyer and another corporation or entity. Any attempted assignment or delegation of Buyer shall be void and ineffective for al1 purposes
unless made in conformity with this paragraph. This Agreement shall be binding upon and inure to the benefit ofthe parties hereto and their
respective pennitted successors and assigns.
       10. Compliance -with Lav,.S' Export. Both parties shall comply with all applicable la'\\'S and regulations. Buyer shall not sell, ship or
allow trans-shipment of any Material in any manner contrary to the export laws of the United States of America, including without limitation,
to any prohibited individual, finn or entity appearing in Denied Party Lists published by the U.S. government, such as the list of Specially
Designated Nationals published by the U.S. Department of Treasury OFAC, or to any country subject to economic or trade sanctions imposed
by the U.S., except as otherwise authorized by U.S. law. Buyer shall also comply with all applicable laws and regulations of any destination
country.
       11. Notices. Any notices, payments, or other information herein contemplated to be given, made or delivered to Seller or Buyer
hereunder shall be sufficient if personally delivered, mailed, or sent by electronic facsimile at the address of such party set forth on the face
hereofor to such other address as such party may from time to time designate to the other in writing.
       12. Incorporation By Reference. Terms appearing on the face hereofthat in any way alter, condition or explain these General Tenns
and Conditions are incorporated herein by this reference. All terms so incorporated shall supersede any conflicting or contrary provision
contained in these printed General Tenns and Conditions.
       13. Entire Agreement· Intemretation' Amendment. This Agreement contains the entire agreement between the parties, and there are
no oral understandings, representations or agreements relative to this Agreement which are not fully expressed herein. Any tenns appearing
on any Order or other fonn used by Buyer which would modify or conflict with the terms and conditions set forth herein are expressly
rejected. Except for the purpose of negating implied warranties, no course of prior dealings between the parties and no usage ofthetrade shall be
relevant to supplement or explain any tenn used in this Agreement. If any provision of this Agreement, or the application thereofto any person,
place, or circumstance, shall be held by a court of competent jurisdiction to be invalid, unenforceable, or void, the remainder of this Agreement and
such provisions as applied to other persons, places, and circumstances shall remain in full force and effect. No amendment, modification, or waiver
of any provision ofthis Agreement shall be eftective unless in ,",riting and signed by the parties hereto.
       14. Governing Law. This Agreement shall be governed by the la'\\'S ofthe State of Colorado.
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